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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARK NUNEZ, et al.,
Plaintiffs,

-against- INTERIM PROTECTIVE
ORDER
THE CITY OF NEW YORK, etal,

Defendants. 1i Civ. 5845 (LTS)UICF)

WHEREAS, on May 26, 2023, the Monitor issued a Special Report in which the Monitor
detailed five incidents involving persons in custody (“PIC”) at Department of Correction (“DOC”)

facilities (the “Monitor’s Report”);

WHEREAS, on May 31, 2023, the Court ordered Defendants to provide the Monitoring
Team with a status report containing information regarding five incidents (the “City’s Report”), as
well as certain documents regarding the five incidents that were the subject of the Monitor’s Report

(the “May 31, 2023 Order”);

WHEREAS, Defendant City of New York asserts that the five incidents are currently the
subject of investigations by the New York City Department of Investigation (“DOT”), the New

York State Attorney General’s office, and/or the DOC;

WHEREAS, Defendants the City of New York (“City”) and Department of Correction
(“DOC”) produced to the Monitor a City Report and documents pursuant to the May 31, 2023

Order (the “Produced Material”),
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WHEREAS, on June 5, 2023, the Plaintiffs requested, pursuant to Consent Judgment, §

XIX, 4 8 to receive the Produced Material;

WHEREAS, the City contends that the Produced Material and the information contained
therein related to Incident No. 3 (as designated in the City’s Report) are documents or information
pertaining to the investigation of Incident No. 3, the release of which could compromise that
investigation, such that the City Report, the documents, and the information contained there, are
in whole or in part protected by the law enforcement privilege, and the City objected to production

of the Produced Material related to Incident No. 3 to plaintiffs on that basis;

WHEREAS, Produced Material the Produced Material for each of the five incidents also
contains confidential and protected health information and records that are protected by various
state and federal privacy laws, including but not limited to the Heaith Insurance Portability and
Accountability Act, New York Public Health Law § 18, New York Mental Hygiene Law § 33.13,

and New York CPLR § 4504;

WHEREAS, the Court finds that pursuant to MHL § 33.13 (c)1 that the interests of
justice significantly outweigh the need for confidentiality pertaining to such confidential
information contained within the Produced Material;

WHEREAS, due to the privileged and confidential nature of the materials, Defendants
objected to disclosure to the Plaintiffs of the Produced Materials pertaining to Incident No. 3 in its
entirety and each of the five incidents insofar as they contain confidential and protected health
information, pursuant to the Consent Decree (XX, No. 10), absent adequate confidentiality

protections;
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WHEREAS, on June 6, 2023, the Monitor provided the Plaintiffs with a copy of the City

Report;

WHEREAS, the City has designated the Produced Materials pertaining to Incident No. 3
in its entirety and each of the five incidents insofar as they contain confidential and protected health
information as “Confidential” pursuant to the Amended Protective Order (ECF No. 89) and
requested, in addition, that Plaintiffs’ counsel agree to treat such materials as “attorneys-eyes-

only” prior to production of the Produced Materials to plaintiffs’ counsel,

WHEREAS, Plaintiffs object in whole or in part to defendants’ designation of the
Produced Materials as “Confidential” and/or to the assertion of law enforcement privilege
protection and/or the assertion of the privileged and confidential nature of the protected health

information as to the Produced Materials;

WHEREAS, there is insufficient time before the conference on June 13, 2023 to resolve
by negotiation or motion practice the parties’ dispute regarding the confidential nature of specific

portions of the Produced Materials;

WHEREAS, the entry of this interim protective order will permit the Monitor to
expeditiously provide the Produced Materials to Plaintiffs’ counsel, so that Plaintiffs may prepare
for the June 13, 2023 conference, without the need for immediate resolution of disputes regarding

the degree of protection required for particular portions of the Protected Materials;

WHEREAS, for the reasons set forth above, there is good cause for entry of the interim

protective order set forth herein;
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NOW, THEREFORE, IT IS HEREBY ORDERED, that:

1. The Produced Materials and any information contained therein, pertaming to
Incident No. 3 in its entirety and each of the five incidents insofar as they contain confidential and
protected health information shall be deemed “Confidential — Attorneys-Eyes-Only material.”

2. The attorneys receiving materials deemed “Confidential- Attorneys-Eyes-Only
Material” shall not disclose those materials or the information contained within those materials to
any person other than attorneys’ representing the parties in this action, the agents of such attorneys
(including their staff), the Monitor (and his staff), or the Court in a sealed filing;

3. All materials designated as “Confidential-Attorneys Eyes Only” shall also be
treated as “Confidential” pursuant to the Amended Protective Order (ECF No. 89), subject to the
additional restrictions set forth in paragraph “2” above;

4, The parties shall meet and confer regarding the confidential treatment of the
Produced Materials by July 7, 2023, and to the extent that the parties have not resolved any
disagreements on that subject the plaintiffs shall promptly submit such disagreements to the Court
for resolution, as provided for in the Amended Protective Order. Nothing herein precludes
plaintiffs from seeking relief at an earlier time.

AND, IT IS FURTHER ORDERED THAT, the Court’s prior Order Regarding the
production of Protected Health Information to the Monitor by non-party NYC Health + Hospitals
(ECF No. 540) (the “H+H Order”) is hereby AMENDED to permit disclosure by the City and the
Monitor of such medical records that are governed by the H+H Order, consistent with the terms of
this Order. All other aspects of the H+H Order, including the prohibition on the use or redisclosure

of the Protected Health Information remain in effect.
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SO ORDERED.
Dated: June [3 , 2023 FEM [oe
New York, New York How/ Laura Taylor Swain

Chief United States District Judge
